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IN THE UNITED STATES meats LOOURE
FOR THE DISTRICT, OF wea HED

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Civil No. 2224 - cV-@ -L ew
(Write the full name of each plaintiff who is filing :

io be filled in by the Clerk’s O
this complaint. If the names of all the plaintiffs (to be filled in by the Clerk's Office)

cannot fit in the space above, please we “wee Jury Trial: 0 Yes oxo
attached” in the space and attach an additional

. . (check one)
page with the full list of names.)

-against-
Sfeb 202 LUC aloja ELEOAt
Mora oy Suviae __,

col ‘ raat

(Write the full name of each defendant who is
being sued. If the names of all the defendants
cannot fit in the space above, please write “see
attached” in the space and attach an additional
page with the full list of names.)

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I. The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach
additional pages if needed.

Name Valewe (V\ ‘ Rarle_

Street Address ( ot ~n AQ Sf.

City and County } a SC ih
State and Zip Code (Naine OUYU2WUO

Telephone Number 70 2 Us a. 20

E-mail Address VO al. Cod

B. The Defendant(s)

Provide the information below for each defendant named in the complaint,
whether the defendant is an individual, a government agency, an organization, or
a corporation. For an individual defendant, include the person’s job or title (if
known). Attach additional pages if needed.

Defendant No. 1

Name N EW (2E- ALi.

(if known)

Street Address 11OO Vivainia OC Sint 125
City and County

State and Zip Code 0A fl O Su. —~ 927)

Telephone Number - fe b7s* SS 2|

E-mail Address
(if known)

Defendant No. 2

Name N ‘CO\OL Saas Soe

Job or Title Chea £ nH uA a, = Rice
(if known)

Street Address
City and County

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State and Zip Code

Telephone Number

E-mail Address

(if known)

Defendant No. 3

Name

Job or Title

(if known)
Street Address

City and County

State and Zip Code

Telephone Number

E-mail Address

(if known)

Defendant No. 4

Name

Job or Title

(if known)
Street Address

City and County

State and Zip Code

Telephone Number

E-mail Address

(if known)

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two
types of cases can be heard in federal court: cases involving a federal question and cases
involving diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising
under the United States Constitution or federal laws or treaties is a federal question case.
Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of another
State or nation and the amount at stake is more than $75,000 is a diversity of citizenship
case. In a diversity of citizenship case, no defendant may be a citizen of the same State
as any plaintiff.
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What is the basis for federal court jurisdiction? (check all that apply)
W Federal question O Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.

A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United
States Constitution that are at issue in this case.

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B. If the Basis for Jurisdiction Is Diversity of Citizenship
1. The Plaintiff(s)
a, If the plaintiff is an individual

The plaintiff, (name) , is a citizen of
the State of (name)

(If more than one plaintiff is named in the complaint, attach an additional
page providing the same information for each additional plaintiff)

2: The Defendant(s)

a. If the defendant is an individual
The defendant, (name) , is a citizen of
the State of (name) . Or isa citizen of

(foreign nation)

Il.

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b. If the defendant is a corporation

The defendant, (name) NB WN) iF ‘ Lu oy
ner under the laws of the State of (name)

LO ay 2. , and has its principal place of
business in the State of (name) . Oris
incorporated under the laws of (foreign nation)

, and has its principal place of

business in (name)

(If more than one defendant is named in the complaint, attach an
additional page providing the same information for each additional
defendant.)

3; The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant
owes or the amount at stake—is more than $75,000, not counting interest
and costs of court, because (explain):

Yas Delendark ow 84 millicn dallas.

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as
briefly as possible the facts showing that each plaintiff is entitled to the damages or other
relief sought. State how each defendant was involved and what each defendant did that
caused the plaintiff harm or violated the plaintiffs rights, including the dates and places
of that involvement or conduct. If more than one claim is asserted, number each claim
and write a short and plain statement of each claim in a separate paragraph. Attach
additional pages if needed.
IV.

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Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to
order. Do not make legal arguments. Include any basis for claiming that the wrongs
alleged are continuing at the present time. Include the amounts of any actual damages
claimed for the acts alleged and the basis for these amounts. Include any punitive or
exemplary damages claimed, the amounts, and the reasons you claim you are entitled to
actual or punitive money damages.

Closing

I agree to provide the Clerk’s Office with any changes to my address where case-
related papers may be served. I understand that my failure to keep a current
address on file with the Clerk’s Office may result in the dismissal of my case.

Date of signing: Vous Z S 5

vA
Signature of Plaintiff L cr MW 2

Printed Name of Plaintiff Val any. (VL L LX

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Plaintiff Claim

Plaintiff:

Valerie M Poole

67 Bridge St.

Lewiston, Maine 04240 county of Androscoggin

Defendant:

NEW REZ LLC CEO Nicola Santoro Jr. d/b/a SHELLPOINT MORTGAGE SERVCING
1100 Virginia Drive Suite 125

Fort Washington, PA 19034-3276

12.

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VALERIE M WILLIAMS now VALERIE M POOLE living in Lewiston, a city in
Androscoggin County in the State of Maine.

NEW REZ LLC d/b/a SHELLPOINT MORTGAGES SERVICING is a business entity
able to do business in the state of Maine.

The Defendant obtained a Promissory Note from DITECH FINANCIAL LLC in the
amount of $115.030.00, after DITECH filed Bankruptcy in the state of New York in June
of 2022. Exhibit A the note.

The Defendant, as the new loan servicer, received 3 bonds and a promissory note to
satisfy the financial claim of the Defendant totaling $575,150.00 on July 17,2023.

The Defendant took all 4 of the financial instruments and never tendered the payment,
failing its fiduciary duties. Exhibit B.

The Plaintiff made a certified claim of interest and equity as to “cash” the promissory
note and pay off the alleged Joan from the Plaintiff, and as the security Entitlement
Holder, the Plaintiff has the right.

The Defendant failed its fiduciary duties and they failed to act on the claim of interest.
On February 20, 2024, the Defendant received a tender of payment with instructions to
satisfy the total amount of the loan $164,119.42. Exhibit C

The Defendant breached its fiduciary duties again, and the account was not off set.

On March 5° 2024, the Defendant received a promissory note in the amount of

$230,060.00, at the same time the same package was sent to the Chief Financial Officer
of NEW REZ LLC, Nicola Santoro Jr. also in the amount of $230,060.00 and this
document was received in his office on March 8, 2024. Exhibit D

The Defendant breached the duties and again there was not set off for the tender of

payment.

On March 13, 2024, a Registered Bill of Exchange was sent to and received by the
Defendant. Exhibit E.

On March 18,2024 a letter was received by the Defendant stating that they would not
process the Plaintiff's payment. The Defendant took colored copies of all documents and
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sent back copies keeping the original Registered Bill of Exchange, once again the
Defendant failed its fiduciary duties to offset this account.

14. On March 18, 2024, the Plaintiff called the company and demanded all the Plaintiff's
original financial instruments, and this has not happened.

15. The Plaintiff sent out on March 20, 2024, a letter of Default to the Defendants. Exhibit F

16. The Defendant has violated Maine Laws under Title 11 tender of payment subsection 3-
1603.

17. The Defendant violated my right to “cash” my note and claim my interest and equity in
the note, Maine Law Title 11 subsection 8-1510(2)

The Plaintiff’?s demands:

1. The Defendant should be fairly assessed for the civil penalties under 12 USC 226 Section
29 of the Federal Reserve Act.
A. The first payment, made on July 17, 2024, for the first tier assessed at $5,000.00 per
day.
B. The Second payment made on February 20,2024 for the second tier of penalties is
$25,000 per day.
C. The third payment made on March 5" and 8" of 2024 is assessed for the third tier of
$1 million per day.
2. The Plaintiff demands an award of money equal to the tender of payments $1,429,449.42.
3. The Plaintiff demands the Defendant give the Plaintiff the equity and interest the Plaintiff
is owed as the owner and issuer of the note.

/s/
Valérie M Poole Plaintiff
